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(COB #218 voNORStmtPFM)(12/15)




                  IN THE UNITED STATES BANKRUPTCY COURT
                                         District of Colorado ,
                                       HONORABLE Cathleen D. Parker

In re:
              Matthew Sysum
              Kimberly Ann Sysum
Debtor(s)
                                                          Case No.:       18−21172−CDP
                                                          Chapter:        7
SSN/TID
Nos.    xxx−xx−3598
        xxx−xx−8308


                                    NOTICE OF REQUIREMENT TO FILE A
                                 STATEMENT OF COMPLETION OF COURSE IN
                                    PERSONAL FINANCIAL MANAGEMENT

     Notice is hereby given that, subject to extremely limited exceptions, each debtor must complete an
instructional course in personal financial management and file Official Form 423, "Debtor's Certification
of Completion of Instructional Course Concerning Personal Financial Management," as evidence of
course completion before a discharge can enter under chapter 7 (11 U.S.C. §727) . This course is
different from and in addition to the credit counseling course that the debtor(s) must complete prior to
filing for bankruptcy relief. Official Form 423 is available on the U.S. Court's website at
www.uscourts.gov/bkforms/bankruptcy_forms.html on the Form's page or may be picked up from the
Clerk's Office at 721 19th St., Denver, Colorado.

     Debtor(s) and/or debtor(s)' attorney is/are hereby notified that the debtor(s) should have filed Official
Form 423 within 60 days after the first date set for the meeting of creditors under Section 341. Debtor(s)
will now be allowed additional time, until 5/10/19 to file the completed Official Form 423 containing the
financial management certificate number. In the event the certification is not filed on or before 5/10/19,
the case will be closed without an entry of discharge.

     If the case is closed because of failing to file Official Form 423, the case cannot be reopened
without full payment of the reopening fee. If the debtor(s) want a discharge, they must first ask the Court
to reopen the case by filing a Motion to Reopen the case accompanied by the payment of the filing fee
which is $260 for motions to reopen filed on and after January 1, 2007. After the case is reopened, the
debtor(s) must then file Official Form 423 evidencing completion of an instructional course concerning
personal financial management in order to receive a discharge. If the debtor(s) fail(s) to file Official Form
423 within 30 days after the case is reopened, then the case will again be closed without the entry of a
discharge.

                                                       FOR THE COURT:
Dated: 3/26/19                                         KENNETH S. GARDNER, Clerk
                                                       United States Bankruptcy Court
                                                       U.S. Custom House
                                                       721 Nineteenth Street
                                                       Denver, CO 80202−2508
